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Exhibit 4
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SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF ORANGE, CENTRAL JUSTICE CENTER
DEPARTMENT C62

KELLI PETERS, ET. AL.,
PLAINTIFF, OO
vs. NO. 30-2012-00588580

KENT W. EASTER, ET. AL.; AND
DOES 1 TO 100, INCLUSIVE,

DEFENDANTS .

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HONORABLE MICHAEL BRENNER, JUDGE PRESIDING
REPORTER'S TRANSCRIPT
FEBRUARY 3, 2016
VOLUME II - PAGES 21 THROUGH 138

APPEARANCES OF COUNSEL:

FOR THE PLAINTIFF:

MARCERBEAU & NAZIF

BY: ROBERT H, MARCEREAU

AND SY NAZIF

FOR THE DEFENDANT KENT W. EASTER:
IN PRO PER

BY: KENT W. EASTER

JEANETTE A, GILLICK, CSR NO. 7961
OFFICIAL COURT REPORTER

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MR. MARCEREAU: YES, YOUR HONOR. I CALL PLAINTIFF
KELLI PETERS.

THE CLERK: DO YOU SOLEMNLY STATE THAT THE
EVIDENCE YOU SHALL GIVE IN THIS MATTER SHALL BE THE TRUTH,
THE WHOLE TRUTH, AND NOTHING BUT THE TRUTH, SO HELP YOU
GOD?

THE WITNESS: YES, I DO.

THE CLERK: PLEASE STATE AND SPELL YOUR NAME FOR
THE RECORD.

THE WITNESS: KELLI CHERI PETERS, K-E-L-i-I,
C-H-E-R-I, P-E-T-E-R-s. —_

THE CLERK: THANK YOU. YOU MAY HAVE A SEAT AT THE
WITNESS STAND.

DIRECT EXAMINATION

BY MR. MARCEREAU;:
Q GOOD MORNING, MRS. PETERS.
A GOOD MORNING.
QO I HATE TO ASK YOU THIS QUESTION, BUT WHAT YEAR
WERE YOU BORN?
1961.
THAT WOULD MAKE YOU 55?
55.
ARE YOU MARRIED?

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YES, I AM.

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74

Q DID YOU LEARN THAT ONE OF THE THINGS THAT WAS
PLANTED IN YOUR CAR WERE NARCOTICS?

A YES.

Q PERCOCETS ?

A I DIDN'T KNOW AT THE TIME, BUT I FOUND OUT LATER,
YES.

Q DO YOU RECOGNIZE THIS AS WHAT WAS PULLED OUT OF
YOUR CAR?

A YES.

Q THIS IS EXHIBIT 6.

ALSO DRUG BAGGIE OF VICODIN?

A YES.
NEXT SLIDE, PLEASE.
ALSO A MARIJUANA PIPE?
A YES.
Q A USED MARIJUANA PIPE?
A YES, APPARENTLY IT WAS.

Q WHAT WAS YOUR RESPONSE WHEN THE POLICEMAN PULLED
ALL THOSE DRUGS OUT? WHAT DID YOU TELL HIM IP ANYTHING?

A I TOLD HIM, YOU KNOW, THEY WEREN'T MINE. TI DIDN'T
KNOW WHERE THEY CAME FROM. I ASKED HIM IF I WAS GETTING A
JOKE PLAYED ON ME. HE SAID, NO, THAT I NEEDED TO SIT DOWN
ON THE CURB AND STOP TALKING, AND SO I DID.

Q WERE YOU GETTING EMOTIONAL AT ALL AT THIS POINT?

A YEAH, I WAS HYSTERICAL.

Q WHAT WAS GOING THROUGH YOUR MIND? WHAT WERE YOU

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FEELING?

A I FELT LIKE I WAS REALLY GOING TO GO TO JATL AND
WAS WONDERING WHAT I WAS GOING TO DO WITH MY DAUGHTER. I
ASKED HIM IF I NEED TO CALL A LAWYER. YOU KNOW, I WAS
TRYING TO MAKE PLANS TO, YOU KNOW, GO TO JAIL.

Q DID YOU FEEL HELPLESS AT THAT MOMENT?

A VERY HELPLESS, YES.

Q HUMILIATED?

A PEOPLE WERE DRIVING BY. J MEAN, EVERYBODY WAS
LOOKING AT ME AND I FELT VERY HUMILIATED.

Q HOW LONG WERE YOU SITTING ON THE SIDE WITH THE
POLICE?

A IT WAS ABOUT 45 MINUTES.

Q WHAT HAPPENED NEXT?

A THE POLICE ASKED ME TO STAND UP AND THEY ESCORTED
ME INTO THE SCHOOL. .

QO AT THAT POINT WHEN YOU WERE ESCORTED BACK INTO THE
SCHOOL, DID YOU SEE YOUR DAUGHTER?

A YES .

Q SHE WAS 10 YEARS OLD AT THE TIME?

A YES.

Q DID YOU MAKE CONTACT WITH HER?

A YES. SHE RAN UP AND GAVE ME A HUG AND WAS ASKING
ME WHAT WAS GOING ON, WHAT IS WRONG. MOMMY, WHY ARE YOU
CRYING?

o THEN WHAT HAPPENED?

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A THE OFFICERS ASKED MY DAUGHTER TO SIT DOWN AND
THEY TOOK ME INTO A CONFERENCE ROOM NEXT TO THE PRINCIPAL'S
OFFICE.

Q WAS THIS A PRIVATE CONFERENCE ROOM AS MR. EASTER
ARGUED?

A WELL, IT WAS A CONFERENCE ROOM WITH WINDOWS. I
DON'T KNOW. EVERYBODY COULD USE THE CONFERENCE ROOM.

Q WERE THE WINDOWS OPEN?

A YES. ‘THE BLINDS WERE OPEN, AND YES, EVERYBODY
COULD SEE WHAT WAS GOING ON.

Q DID YOU SEE ANYBODY THROUGH THE WINDOW?

A ‘I SAW EVERYBODY THROUGH THE WINDOW. I SAW MY
DAUGHTER. I SAW THE ADMINISTRATORS, TEACHERS WALKING BY,
PARENTS PICKING UP THEIR KIDS. I SAW MY ACE KIDS BEING
DISMISSED.

Q WERE THEY LOOKING IN AND LOOKING AT YOU?

A YES. ‘THEY WERE ALL LOOKING AT ME, YES.

Q ‘THERE WAS A UNIFORM POLICE OFFICER IN THERE WITH

A YES, THERE WAS.
QO AT THAT POINT WERE YOU MADE TO DO A FIELD SOBRIETY

A YES, I WAS.

Q WHAT DID THAT INVOLVE? KIND OF A WALKING IN LINE?

A YES. WALK IN LINE AND DO MY ABC'S, TOUCH MY NOSE.
THEY GOT A FLASHLIGHT AND HAD ME OPEN MY MOUTH AND LOOKED

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Q
IN FRONT
A

INSIDE MY MOUTH.

Q COULD YOU SEE WHETHER OR NOT YOUR DAUGHTER WAS
WATCHING WHEN THIS WAS HAPPENING?

A YES, I COULD SEE THAT SHE WAS WATCHING.

Q DID SHE APPEAR TO BE CONCERNED FROM YOUR
OBSERVATIONS?

A YES, SHE LOOKED VERY CONCERNED.

Q AT SOME POINT DID THE OFFICER THEN ORDER THE
BLINDS SHUT?

A YES. THEY DID DECIDE TO SHUT THE BLINDS, YES.

0 HOW LONG WERE YOU HELD INSIDE?

A IT WAS OVER AN HOUR.

Q DID YOU FEEL LIKE YOU WERE FREE TO GO AND COULD
WALK OUT OF THERE?

A I WAS NOT FREE TO GO.

Q AT SOME POINT DID YOUR HUSBAND SHOW UP?

A YES.

Q ARE YOU AWARE WHETHER OR NOT HE WAS INFORMED THAT
YOU WERE BEING QUESTIONED BY POLICE AT THE SCHOOL AND

NEEDED TO GET DOWN THERE?

SOMEBODY FROM THE OFFICE CALLED HIM AND TOLD HIM

TO COME DOWN. I BELIEVE THEY WANTED HIM TO PICK UP SYDNEY,
THAT SHE NEEDED A RIDE.

DID THE POLICE EVER START QUESTIONING YOUR HUSBAND
OF YOU?
YES.

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Q ABOUT WHAT?

A WERE WE HAVING MARITAL PROBLEMS? HAD HE EVER SEEN
DRUG USE IN THE HOUSE? STUFF LIKE THAT.

Q DID THEY ASK HIM ABOUT THE DRUGS IN THE CAR?

A HE SAID, WOULD YOUR WIFE HAVE A REASON TO HAVE
DRUGS IN HER CAR? _

Q WHAT WERE YOUR OBSERVATIONS OF YOUR HUSBAND'S
REACTION TO ALL OF THIS?

A HE WAS JUST MORTIFIED. TRYING TO EXPLAIN
SOMETHING THAT HE DIDN'T KNOW ANYTHING ABOUT. JUST
TERRIBLE,

Q DID HE APPEAR WORRIED TO YOU?

A YES, HE WAS VERY WORRIED ABOUT WHAT WAS GOING ON.

Q WERE YOU TELLING THE POLICE THAT YOU DIDN'T Do IT?

A YES, NON-STOP.

Q NON-STOP I DIDN'T DO IT, NOT ME?

A YES. EVERY TIME I COULD OPEN MY MOUTH THAT IS
WHAT CAME OUT OF MY MOUTH.

Q AT SOME POINT DID THE POLICE OFFICER ASK YOU,
WELL, WHO DO YOU THINK DID IT IF NOT YOU?

A YES. AT ONE POINT THEY ASKED ME, OKAY, SO IF YOU
DIDN'T DO IT, THEN WHO DID? DO YOU HAVE ANY ENEMIES?

Q COULD YOU THINK OF A COUPLE?

A YES. I IMMEDIATELY THOUGHT OF JILL EASTER,

Q NOW WHEN YOU POINTED THE FINGER AT THE EASTERS,
DID THE POLICE JUST BUY THAT AND SAY, OKAY, WELL, CASE

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CLOSED?

A NO.

QO AFTER THOSE COUPLE HOURS AT THE SCHOOL, WHAT
HAPPENED NEXT? TAKE ME FROM YOU ARE IN THE CONFERENCE ROOM
AND THEN WHERE DID YOU GO?

A THEY ASKED ME IF THEY COULD COME TO MY APARTMENT
AND LOOK THROUGH THE APARTMENT.

Q DID YOU CONSENT TO A SEARCH?

A YES, I DID.

Q WHAT WAS YOUR THOUGHT ABOUT CONSENTING TO A
SEARCH?

A AT FIRST I WAS LIKE, I HAVE BEEN VIOLATED ENOUGH.
AND THEN I THOUGHT, WELL, THAT IS DUMB. THE BEST WAY To
GET YOURSELF OUT OF THIS IS LET THEM COME LOOK AT YOUR
HOUSE.

Q SO WHEN YOU CONSENTED TO THE SEARCH, WHAT HAPPENED
THEN? TAKE ME THROUGH IT FROM THE CONFERENCE ROOM.

A THEY TOOK ME TO MY CAR AND TOLD ME THAT THEY WERE
GOING TO FOLLOW ME, TO GO AHEAD AND BRING MY CAR HOME AND
THAT THEY WOULD FOLLOW ME IN MY CAR. AND MY DAUGHTER AND
MY HUSBAND AND ONE OF THE GUYS FOLLOWED HIM, AND WE ALL
WENT TO THE APARTMENT AND PARKED. THEN GOT ESCORTED
UPSTATRS TO MY APARTMENT.

0 LET ME STOP YOU THERE FOR A MINUTE.

THE POLICE WALKED YOU OUT TO THE PARKING LOT To
YOUR CAR?

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RIGHT.
AND THEN YOU GOT A POLICE ESCORT TO YOUR HOME?
RIGHT.

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WERE THERE OTHER PEOPLE AT THE SCHOOL? DID YOU
SEE WHETHER OR NOT PEOPLE COULD SEE WHAT WAS HAPPENING, YoU
BEING WALKED OUT IN THE PARKING LOT?

A YES. EVERYBODY WAS WATCHING.

Q SO YOU GET TO YOUR HOUSE.

THEN THE POLICE YOU SAID WALKED YOU UPSTAIRS To
YOUR APARTMENT?

A YES.

Q HOW MANY BEDROOMS WAS THIS APARTMENT?

A ‘TWO BEDROOMS.

Q HOW MANY SQUARE FEET?

A UNDER A THOUSAND.

Q WHEN YOU GOT INTO YOUR APARTMENT, WHO WAS THERE?
YOUR WHOLE FAMILY?

A IT WAS SYDNEY MY DAUGHTER, BILL MY HUSBAND, AND I,
AND THEN ONE OF THE POLICE OFFICERS STAYED DOWN AT MY CAR
AND ONE CAME UP AND SEARCHED THE HOUSE.

Q SO THE POLICE OFFICER SEARCHED YOUR APARTMENT?

A YES.

Q WENT THROUGH ALL OF YOUR DRAWERS?

A YBS.

Q WENT IN THE CLOSETS?

A YES.

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0 LOOKED THROUGH EVERYTHING?

A AS FAR AS I KNOW. I ENDED UP TURNING MY BACK. IT
WAS TOO MUCH FOR MB TO WATCH.

Q WHAT WAS YOUR DAUGHTER DOING AT THIS TIME?

A SHE WAS REALLY UPSET, SHE WAS CRYING, SO I JUST
KIND OF GRABBED HER AND PUT HER, YOU KNOW, IN MY STOMACH
RIGHT HERE AND TOLD HER NOT TO WATCH.

Q SO SHE WAS FACING YOU?

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A YES, KIND OF HUDDLED TOGETHER AND WAITED FOR IT TO

10} BE OVER.

11 Q TRYING TO SHIELD HER FROM WHAT WAS HAPPENING?
12 A YES, I WAS.

13 Q WERE YOU UPSET AT THIS POINT?

14 A YES, I WAS STILL VERY UPSET.

15 Q WAS YOUR DAUGHTER UPSET?

16 A YES.

17 Q WAS SHE CRYING?

18 A YES, SHE WAS CRYING.

Q AT SOME POINT EITHER THAT DAY OR I'M NOT SURE THR “I
FOLLOWING DAY, DID CSI SHOW UP TO YOUR HOUSE?

A YES, THEY DID.

QO SOA BIG CSI TRUCK PARKED OUTSIDE YOUR APARTMENT?

A THAT'S CORRECT. |

Q WHAT DID IT LOOK LIKE?

A TT WAS WHITE WITH, YOU KNOW, CRIME SCENE
INVESTIGATION WRITTEN ACROSS THE SIDE. _

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Q DID PEOPLE FROM CSI CONDUCT AN INVESTIGATION OF
YOUR APARTMENT AND CAR?

A YES.

Q ‘DO YOU KNOW WHETHER ANY NEIGHBORS SAW ALL THIS
GOING ON?

A . I KNOW FOR A FACT MY NEIGHBORS SAW.
DID THEY ASK YOU ABOUT IT?
THEY DID, YES.
WAS THAT EMBARRASSING?
VERY EMBARRASSING.

Oo FP oO fF OD

AND COLLECT DNA AND FINGERPRINT MY DAUGHTER AND I AND
COLLECT DNA.

Q SO YOU GOT FINGERPRINTED AND DNA TESTED?

A YES.

Q HOW DID THEY DO THE DNA TEST’?

A THEY USED A SWAB AND SWABBED THR INSIDE OF OUR

MOUTH
0 ONE OF THOSE BIG LONG Q-TIPS?
A YES.
Q AND SWABBED IN YOUR MOUTH?
A YES.
Q DID THEY DO THE SAME THING TO YOUR DAUGHTER?
A THEY DID.
Q HOW DID YOU FEEL WATCHING THEM DO THAT TO YOUR

WHAT IS YOUR UNDERSTANDING WHAT CSI DID? wna
A THEY TOLD ME THEY WERE GOING TO FINGERPRINT MY CAR

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DAUGHTER?

A If WAS VERY UPSETTING.

QO WAS YOUR DAUGHTER UPSET?

A SHE WAS VERY UPSET. .

0 WHEN ALL THIS WAS GOING ON WERE YOU THIS POINT
CONTINUING TO DENY THAT YOU DID IT?

A YES, OF COURSE I WAS.

Q SO ONCE CSI FINISHED -- STRIKE THAT.

DID YOU GO TO WORK THE NEXT DAY?

A NO. TIT WAS TOO UPSET TO GO TO WORK THE NEXT DAY.

Q WHEN THE OFFICERS FINISHED SEARCHING YOUR HOME,
DID ANYBODY TELL YOU, THAT'S IT, YOU'RE OFF THE LIST AS A
SUSPECT?

A NO.

Q WHEN THE CSI FINISHED UP THEIR INVESTIGATION, DID
THEY SAY, WELL, WE CAN RULE YOU OUT?
NO, THEY NEVER SAID THAT.
SO YOU MISSED THE NEXT DAY?
I DID.

Oo Fr Oo PB

FOR THE FIRST COUPLE WEEKS AFTER THIS HAPPENED
WERE YOU FEARFUL THAT YOU MIGHT GET THROWN IN JAIL FOR DRUG
POSSESSION?

A ‘I THOUGHT FOR SURE I WAS GOING TO. I NEVER DIDN'T
THINK THAT.

Q DID YOU HAVE ANY DISCUSSIONS WITH YOUR HUSBAND OR
MAKE ANY PLANS?

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A YES. I MADE PLANS WITH MY RELATIVES. I SAID IF
THEY EVER COME AND TAKE ME TO JAIL, I'M GOING TO NEED HELP
FROM EVERYBODY. I NEED SOMEONE TO PICK SYDNEY UP, YOU
KNOW, MAKE DINNER AND STUFF AND MAKE SURE EVERYBODY IS FED
AND TAKEN CARE OF, AND PLEASE FIND ME A LAWYER. YOU KNOW,
THE NORMAL STUFF YOU WOULD MAKE IF YOU HAVE TO GO TO JAIh.

Q@ WAS YOUR DAUGHTER UPSET AT THE THOUGHT OF YOU
MAYBE GOING TO JAIL?

A I HAD TO TELL HER IT COULD HAPPEN. I THOUGHT IT
WAS GOING TO HAPPEN FOR SURE, SO I HAD TO TELL HER. I
DIDN'T WANT TO TELL HER THAT, BUT I HAD TO.

' Q WAS YOUR HUSBAND UPSET AT THE PROSPECT OF YOU
GOING TO JAIL?

A YES, HE WAS UPSET. HE WAS TRYING HARD TO, YOU
KNOW, BE THE MAN AND BE THE ROCK, BUT HE WAS VERY UPSET,

Q NOW AT SOME POINT BECAUSE YOU HAD MENTIONED THE
EASTERS DID YOU BECOME AWARE THAT THE POLICE HAD TURNED
THEIR ATTENTION AND WERE STARTING TO INVESTIGATE WHETHER
THEY IN FACT MIGHT BE THE CULPRIT?

YES.

Q DID YOU GET CALLS FROM POLICE AND DETECTIVES ABOUT
IT?

A YES, I DID.

Q AT SOME POINT AFTER A COUPLE OF WEEKS DID IT SEEM
TO YOU THE FOCUS WAS SHIFTING OFF OF YOU AND ONTO THE
EASTERS?

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YES, IT DID FEEL LIKE THAT.
WHEN WERE THE EASTERS ARRESTED?
I DON'T REMEMBER THE DATE.

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I THINK IT'S AN ESTABLISHED FACT IN THIS CASE IT
WAS IN JUNE.
A. IT WASN'T FOR LIKE A YEAR.

Q IT WAS OVER A YEAR AFTER?

A YES, IT WAS OVER A YEAR.

Q IN THAT YEAR BEFORE THE EASTERS WERE EVENTUALLY
ARRESTED DID YOU HAVE ANY CONCERNS ABOUT WHAT IF ANYTHING
THEY MIGHT DO NEXT?

A YES. I WAS TERRIFIED THEY WERE GOING TO DO
SOMETHING ELSE. IT KEPT ESCALATING.

Q WHAT WAS GOING THROUGH YOUR HEAD?

A 1 WAS THINKING THAT MOSTLY THAT THE BEST WAY To,
YOU KNOW, GET TO ME WOULD BE TO DO SOMETHING TO MY FAMILY
AND SO I KEPT MY DAUGHTER CLOSE. I WAS NERVOUS THEY WERE
GOING TO DO SOMETHING TO HER. AND YOU KNOW, LOTS OF THINGS
WERE GOING THROUGH MY HEAD.

Q DID YOU HAVE ANY NIGHTMARES?

A I HAD NIGHTMARES ALL THE TIME EVERY NIGHT.

Q PO YOU REMEMBER WHAT THEY WERE?

A I WAS AFRAID THAT THEY WERE GOING TO SOMEHOW GET
IN MY HOUSE AND EITHER KIDNAP MY DAUGHTER OR, YOU KNOW,
KILL ME. I HONESTLY THOUGHT THEY WERE GOING TO BE ABLE TO
DO THAT.

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Q DID YOU TAKE ANY STEPS TO TRY TO PROTECT YOURSELF
AROUND THE HOUSE?

A WE HAD ALL THE LOCKS CHANGED ON THE DOORS AND HAD
LOCKS PUT ON THE WINDOW. THAT KIND OF STUFF.

Q DID YOU NOTICE ANY -~ STRIKE THAT.

_ HOW ABOUT YOUR DAUGHTER? WHAT EFFECTS DID You
NOTICE ON HER?

A SHE WOULDN'T SLEEP IN HER ROOM ANYMORE. SHE
DECIDED SHE WASN'T GOING TO GO IN HER ROOM ANYMORE WITHOUT
SOMEONE WITH HER, SO SHE STARTED SLEEPING IN OUR BED.

MR. MARCEREAU: I WOULD LIKE TO PUBLISH A PICTURE
OF MRS. PETERS' DAUGHTER.

THE COURT: WELL, WHAT NUMBER IS IT?

MR. MARCEREAU: I DON'T HAVE IT MARKED AS AN
EXHIBIT.

THE COURT: ANY OBJECTION?

MR, EASTER: I DON'T BELIEVE I HAVE SEEN IT YET,
BUT NO OBJECTION.

THE COURT: BEFORE YOU PUBLISH IT, SHOW MR. EASTER
WHATEVER PICTURE YOU ARE GOING TO PUBLISH.
BY MR, MARCEREAU:

Q IS THIS YOUR DAUGHTER AT 10 YEARS OLD?

A YES, THAT IS SYDNEY.

Q I HAVE A COUPLE PICTURES. THIS IS YOU AND YOUR
10-YEAR-OLD DAUGHTER AT THE TIME?

A YES, THAT IS US.

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Q IN HAPPIER TIMES?

A YES.

Q SO YOU MENTIONED THAT YOUR DAUGHTER WASN'T
SLEEPING IN HER BED ANYMORE?

A YEAH, SHE WOULD NOT SLEEP IN HER BED ANYMORE.

-Q = WHY NOT?

A SHE TOLD ME SHE WAS AFRATD SHE WAS GOING TO BE
KIDNAPPED BECAUSE SHE HAS A WINDOW IN THERE,

Q SO WHERE DID SHE SLEEP THEN? WITH YOU GUYS?

A YES, WITH MY HUSBAND AND I.

Q BEFORE THIS DRUG PLANTING INCIDENT THAT THE
EASTERS DID, DID YOUR DAUGHTER SLEEP IN HER OWN ROOM?

A YES.

Q SO THIS SCARED TO SLEEP BY HERSELF THAT DIDN'T
HAPPEN UNTIL AFTER WHAT THE EASTERS DID?

A WO.

Q YOUR DAUGHTER, DID YOU NOTICE ANY OTHER ISSUES SHR
WAS HAVING AT SCHOOL OR ANYTHING?

A SHE STARTED TO NOT WANT TO GO TO SCHOOL ANYMORE.
SHE WAS LOSING ALL HER FRIENDS. SO SHE FELT LIKE SHE JUST
DIDN'T WANT TO GO ANYMORE. HER GRADES WERE DECLINING. SHE
WASN'T ABLE TO CONCENTRATE. I THINK IT WAS MOSTLY LOSING
HER FRIENDS.

Q DID SHE GET PUT INTO A DIFFERENT SPECIAL CLASS OR
ANYTHING AT THAT TIME?

A YES. SHE WAS TAKEN OUT OF HER REGULAR CLASS

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DURING THE DAY AND TAKEN TO A CLASS WITH A COUNSELOR AND
KIDS THAT HAD TROUBLE CONCENTRATING IN CLASS AND BEHAVING
AND VARIOUS REASONS THAT KIDS WERE IN THERE.

Q WAS THIS A BIG DEAL AROUND THE SCHOOL AFTER THIS
HAPPENED IN THE AFTERMATH?

A YES. IT WAS A HUGE DEAL, YES. EVERYBODY KNEW
ABOUT IT.

Q YOU SAY YOUR DAUGHTER LOST HER FRIENDS.

WHAT DID YOU SEE THAT LED YOU TO THAT CONCLUSION?

A I THINK, YOU KNOW, ALL THE PARENTS WERE TALKING
AND, YOU KNOW, THE KIDS AREN'T DUMB. ‘THEY OVERHEAR
EVERYTHING THAT THEY ARE SAYING. THEY JUST STOPPED WANTING
TO HANG OUT WITH HER. THEY CLOSED THE GAMES TO HER AND
TOLD HER SHE COULDN'T PLAY WITH THEM. JUST FLAT OUT SAID
YOU CAN'T PLAY WITH US.

Q DID YOU EVER SEE HER AT SCHOOL LIKE AT LUNCH TIME
FOR EXAMPLE?

A YES. I WAS ALWAYS THERE BECAUSE I WAS A VOLUNTEER
FOR AN ART CLASS.

Q AFTER THIS DRUG PLANTING WHEN YOU WENT AND SAW
YOUR DAUGHTER IN THE LUNCHROOM, WAS SHE SITTING WITH HER
FRIENDS OR BY HERSELF?

A NO. I WOULD GO AND CHECK UP WITH HER AND SHR
WOULD BE BY HERSELF AND I WOULD SAY, WHY AREN'T YOU SITTING
WITH YOUR FRIENDS, AND SHE WOULD TELL ME THEY DON'T WANT wr
NEAR THEM ANYMORE. THEY DON'T WANT ME AS A FRIEND ANYMORE.

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Q THIS WAS ALL RIGHT AFTER THE DRUG PLANTING?

A EXACTLY.

Q DID YOU EVER SER YOUR DAUGHTER OUT IN THE
PLAYGROUND WHEN YOU WERE AT THE SCHOOL?

A SHE STOPPED PLAYING GAMES WITH THE KIDS BECAUSE
THEY WOULDN'T LET HER. SO SHE WOULD WALK AROUND THE FIELD
BY HERSELF UNTIL LUNCH WAS OVER. SHE WAS JUST TALKING TO

| HERSELF AND WALKING AROUND BY HERSELF.

Q DID YOU EVER ASK PARENTS OF SOME OF THE KIDS To
HELP YOU OUT?

A I WAS TRYING TO COME UP WITH SOME IDEAS, SO I
WOULD ASK SOME OF THE PARENTS THAT HAD KIDS THERE IF THEY
WOULD TALK TO THEIR KIDS AND ASK THEM TO GO PLAY WITH HER
SO SHE WASN'T ALONE ALL THE TIME. FOR KIDS TO BE ASKED TO
DO THAT JUST WASN'T ORGANIC I GUESS. IT JUST DIDN'T WORK
OUT. SYDNEY FELT LIKE EVERYBODY WAS TAKING PITY ON HER AND
DIDN'T WANT ANY PART OF IT. SHE JUST WANTED HER FRIENDS
BACK.

Q DID SHE END UP ASKING YOU IF SHE COULD LEAVE THE
SCHOOL?

A YES. SHE GOT IN MY CAR ONE DAY AND JUST SAT THERE
AND SHE JUST BROKE DOWN AND SAID, CAN I PLEASE CHANGE
SCHOOLS. I WAS LIKE, WELL, I MEAN I DON'T KNOW. I WILL
HAVE TO CHECK INTO IT. ARE YOU SERTOUS? SHE WAS ONLY 10
OR 11 AT THE TIME. Jf JUST THOUGHT IT WAS KIND OF A WEIRD
GROWN UP THING TO ASK ME, BUT SHE WAS IN SO MUCH PAIN. SHE

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JUST DIDN'T WANT TO GO THERE ANYMORE. SHE COULDN'T HANDLE
IT ANYMORE.

Q DID YOU END UP SWITCHING SCHOOLS?

A I DID THAT DAY. I WENT TO THE NEAREST OTHER
SCHOOL AND TOLD THEM THE SITUATION AND THEY SAID THAT THEY
WOULD TALK TO THE PRINCIPAL AND THEY ENDED UP GIVING ME THE
OKAY, YES.

Q SO YOU WERE ABLE TO GET HER INTO A NEW SCHOOL?

A YES.

Q DID THAT HELP?

A YES, IT HELPED A LOT ACTUALLY.

Q HOW ABOUT YOU? WHEN YOU FINALLY WENT BACK TO
SCHOOL FOR YOUR VOLUNTEERING IN THE WAKE OF THIS BIG DOINGS
AT THE SCHOOL, DID YOU FEEL ANY SORT OF SHAME OR
HUMILIATION AT ALL?

A I WAS FEELING REALLY AWKWARD AND, YOU KNOW, PEOPLE
WERE TALKING ABOUT ME AND COMING UP AND ASKING ME A LO? OF
QUESTIONS AND I WAS JUST SO, YOU KNOW, BROKEN DOWN AND
HUMILIATED. I JUST DIDN'T KNOW HOW TO ACT ANYMORE.

Q EVER SEE PEOPLE KIND OF POINTING AND WHISPERING?
YES, OF COURSE, .

DID THAT MAKE YOU FEEL UNCOMFORTABLE?
YES. IT WAS EXCRUCIATING.

oOo Fr O Pp

DID YOU SEE ANY CHANGES IN YOURSELF LIKE YOUR
APPEARANCE BECAUSE OF WHAT WAS HAPPENING?
A YEAH. I WAS LOSING MY HATR.

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1 Q YOUR HAIR WAS FALLING OUT?
2 A YES. I HAD A NICE BIG BALD SPOT IN THE BACK OF
3 | THE HEAD THAT I NEVER HAD BEFORE. SO I KNOW IT WAS FROM
4| STRESS. I WAS ALWAYS GETTING HEADACHES. I WAS LOSING
3 | WEIGHT. I WASN'T SLEEPING. I WASN'T EATING. 2 WAS NoT
6] FUNCTIONING NORMAL. IT WAS JUST TOO MUCH.
7 Q bO YOU WANT YOUR DAUGHTER TO BE HERE TO TESTIFY
8 | TODAY?
9 A WO, I DO NOT.
10 Q ARE YOU AFRAID OF THE EFFECT IT MIGHT HAVE ON HER
11 | BEING IN THE SAME ROOM AS THE DEFENDANT?
12 A SHE DOESN'T WANT TO. I AM NOT GOING TO MAKE HER
13 | DO THAT, NO WAY. I JUST WON'T DO IT.

Q DID YOU SEE ANY EFFECT ON YOUR HUSBAND FROM ALL OF
THIS?

A SURE. MY HUSBAND STARTED HAVING ANXIETY ATTACKS,
HE CAME HOME ONE DAY FROM WORK AND HE WALKED IN THE DOoR
AND GRABBED HIS HEART FELL ON HIS KNEES, AND I THOUGHT HE
WAS HAVING A HEART ATTACK. AND SO I RUSHED HIM TO THE
HOSPITAL AND HE HAD AN ANXIETY ATTACK, THAT IS WHAT IT
WAS. HIS HEART WAS RACING AND IT WAS HURTING, YOU KNOW,
THIS WAS AT SOME POINT AFTER THE DRUG PLANTING?
YES.
IT WAS FROM ALL OF THE STRESS AND WORRY?
YES.

PO PF

MR, EASTER: OBJECTION, CALLS FOR SPECULATION,

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REPORTER'S CERTIFICATE

I, JEANETTE A. GILLICK, CSR NO. 7961, OFFICIAL
COURT REPORTER IN AND FOR THE SUPERIOR COURT OF THE STATE
OF CALIFORNIA, COUNTY OF ORANGE, DO HEREBY CERTIFY THAT THE
FOREGOING TRANSCRIPT IS A TRUE AND CORRECT TRANSCRIPT OF MY
SHORTHAND NOTES, AND IS A FULL, TRUE AND CORRECT STATEMENT
OF THE PROCEEDINGS HAD IN SAID CAUSE.

DATED THIS ZH! DAY OF Eebwwau\— , 2016,

. Glnbick, CSR NO.
AICTAL COURT REPORTER

